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                EXHIBIT 4
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                                                                                        7673A




       Theranos Science & Technology:
The Miniaturization of Laboratory Testing


                                                                   Elizabeth Holmes



                                                                       August 1, 2016
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  Scientific Exchange
  • Some of the medical device technologies discussed today are regulated
    by the FDA and are not yet cleared or approved.
  • This presentation is not intended to promote Theranos devices or
    testing.
  • Theranos technologies are not intended or offered for sale or
    commercial use at this time.
  • The purpose of our presentation is to provide an exchange of scientific
    information about Theranos’ inventions and technologies.

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         2
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  Our mission is to make actionable health
  information accessible at the time it matters




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  Theranos Technologies
                                                  Reagents and Assays for Small-Volume Samples

         Collection                                                                                                                     Theranos
       Technologies                                                                                                                 Virtual Analyzer
   Sample Collection Device                                                                                                               (TVA)
           (SCD)



             NanotainerTM
                Tubes

                                                        High Throughput                                     Theranos Sample
                                                           Platforms                                    Processing Unit (miniLab)




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                  4
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  Presentation Overview

  I. Miniaturization of laboratory testing

  II. miniLab results across detection methodologies

  III. Small sample volumes: collection of capillary blood and
       analysis


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  Miniaturization and Integration of Detection
  Systems
Spectrophotometer                                        Luminometer &                                   Cytometer            Fluorescence-based
                                                          Fluorometer                                                         Isothermal Detector




  Clinical Chemistry                                   Immunochemistry                                  Hematology &               Molecular
                                                                                                         Immunology                 Biology

  Images not to scale

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                               6
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  Miniaturization and Integration of Processing
  Modules


                                                                                                        Material Handling
                                          Camera                                                                              Cartridge
                                                                                                        Robot




                                          Sonicator                                                     Thermocycler          Centrifuge



  Images not to scale

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                      7
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  Theranos Sample Processing Unit (miniLab)
                                                                                             Material Handling Robot                   Fluorescence-based
                                                                        Camera                                                         Isothermal detector
   Thermal System
                                    Spectrophotometer



                                                                                                                                           Thermocycler*

                                                                                                                       17¾”
     Luminometer
     & Fluorometer

                                                                                                                                                Centrifuge
                    Sonicator


                                                                                                            22”
                            Cartridge
  Images not to scale                                              13½”                                                       Cytometer*
* Optional component
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                        8
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  Multi-faceted Material Handling Robot
  Allows Versatility
  • Multiple volumes simultaneously
  • Transports consumables
  • Transfers fluids                                                                                    4.2”

          • Precision: 2.75% at 2 µL
          • Accuracy: 2 µL ± 2.0%                                                                                             6.9”

                                                                                                                     3.5”



This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                9
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  Cartridge Carries Sample and Reagents
  • Single use
                                                                                                                                   NanotainerTM
                                                                                                               Cartridge Lid
  • On-board controls
                                                                                                                               Barcode
  • All reagents and waste onboard
  • No tubing                                                                                           1.5”


  • Barcode control                                                                                                                      4.6”

                                                                                                                3.5”



This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                             10
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  Cartridges: Customized to the Assays
                                                 Nanotainer

  Touchoff
     pads

Reagents


      Bulk
  reagents
                                                                               4.6”
   Imaging
      slide
   Mini tips
                                                                                    Tips and
  Reaction                                                                          vessels
  cuvettes


                                                3.5”

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  Video of Cartridge Components


                                                                                    Video of
                                                                                    Cartridge
                                                                                   Video 1
                                                                                   Components




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  Theranos Virtual Analyzer (TVA) Enables Remote
  Processing and Analysis
  • Recognizes barcode on cartridge
  • Facilitates two-way communication
  • Dictates protocol for device
  • Remote interpretation of digital images
    and results, reviewed and released through
    clinical lab
  • Protocols remotely downloaded for novel analytes on existing
    systems

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         13
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  Video of miniLab



                                                                             Video of miniLab
                                                                                   Video 2


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  Presentation Overview

  I. Miniaturization of laboratory testing

  II. miniLab results across detection methodologies

  III. Small sample volumes: collection of capillary blood and
       analysis


This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         15
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  Clinical Chemistry:
  Precision and Method Comparison




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  Clinical Chemistry: Spectrophotometer

                                                                                                                                                     Xe arc
                                                                                                                                                      lamp

                                                                                                                                     Reaction cuvette         Laser
2.0”                                                                                                                                                          diode

                                                                                                                                      LWP
                                                                                                                                   optical filter
                                                                      5.1”
                         5.3”                                                                           Intensity                   Grating-based
                                                                                                        spectrum                    optical system




                                                                                                                      Wavelength
• Measures absorbance across UV-
  visible spectrum                                                                                                                    CCD line
                                                                                                                                      sensor
• Colorimetric and turbidimetric
                                                                                                          Intensity
  assays
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                                 17
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  Clinical Chemistry: Precision
  Study Overview
 Sample type and matrix                                               Li-Hep venous plasma

                                                                      Low analyte concentration
 Control levels
                                                                      High analyte concentration
                                                                      3 miniLabs x 5 Days x 5 Tests per day
 Study Design
                                                                      (CLSI EP05-A3)
                                                                      Analysis of variance to determine repeatability, within-lab
 Analysis
                                                                      variability, and reproducibility




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                               18
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  Multi-miniLab Precision Study Design
                                                      miniLab 1                                         miniLab 2             miniLab 3
                       3 devices
                       5 days

                       5 tests


       Repeatability                                                     Within-laboratory                          Reproducibility
       (within-run/day)                                                  (within-miniLab)                           encompasses
       one day-one device                                                intermediate precision,                    imprecision across
       baseline variance of                                              includes day-to-day                        multiple devices or sites
       assay system                                                      variability
  CLSI EP05-A3
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                           19
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  Clinical Chemistry: Precision Results Meet
  Performance Criteria
                                                              Repeatability CV Within-laboratory CV Reproducibility CV
  Analyte                          Mean                         (Within-day)    (Within-miniLab) (Across 3 miniLabs)
 Total                           120 mg/dL                          1.5%               1.6%               1.6%
 Cholesterol                     320 mg/dL                          1.7%               1.8%               2.0%
                                 78 mg/dL                           1.9%               1.9%               2.6%
 Triglycerides
                                 405 mg/dL                          3.9%               4.4%               4.4%
 LDL                             71 mg/dL                           3.6%               3.6%               3.7%
 Cholesterol                     203 mg/dL                          2.2%               2.4%               2.4%
 HDL                             40 mg/dL                           2.4%               2.4%               2.5%
 Cholesterol                     84 mg/dL                           2.3%               2.5%               2.8%
                                 2.9 mmol/L                         2.8%               3.4%               6.6%
 Potassium
                                 6.0 mmol/L                         2.6%               2.7%               2.8%
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         20
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  Clinical Chemistry: Method Comparison
  Study Overview
 Population                                                           Apparently healthy subjects and archived samples

 Sample type and matrix                                               Li-Hep venous plasma

 Comparator                                                           Siemens ADVIA 1800

                                                                      7 for potassium
 Number of miniLabs
                                                                      9 for lipids

 Study design                                                         n > 100 subjects (per CLSI EP09-A3)

                                                                      Passing-Bablok regression analysis and calculate median
 Analysis
                                                                      bias

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                           21
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  Potassium on miniLab Correlates to Comparator
  Method for Venous Plasma
                                                                                                        Legend:
                                                                                                           Unity (y = x)
                                                                                                           Allowable total error1 = ±0.5 mmol/L
                  miniLab
                                                                                                           Points within ATE = 100%
                 (mmol/L)
                                                                                                           Median bias = -0.08 mmol/L




  1 CLIA    (Federal Register 1992;57(40):7002-186)
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                             22
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                                                                                                                                     Legend:

  Lipids on miniLab Correlate to                                                                                                         Unity (y = x)
                                                                                                                                         Allowable total error

  Comparator Method for Venous Plasma                                                                                                NCEP (Clin Chem 1988;34:193-201)
                                                                                                                                     NCEP (Clin Chem 1997;43:2164-2168)




     miniLab                                              Total Cholesterol                             miniLab                          Triglycerides
     (mg/dL)                                          Median bias = -0.9 %                              (mg/dL)                     Median bias = 0.6%
                                                                ATE = ± 9%                                                                  ATE = ± 15%
                                                  Points within ATE = 100%                                                      Points within ATE = 98%

                          Siemens ADVIA 1800 (mg/dL)                                                               Siemens ADVIA 1800 (mg/dL)



     miniLab                                                                                            miniLab
     (mg/dL)                                                LDL Cholesterol                             (mg/dL)                     HDL Cholesterol
                                                        Median bias = 2.4%                                                            Median bias = 9%
                                                                ATE = ± 12%                                                                 ATE = ± 13%
                                                    Points within ATE = 92%                                                     Points within ATE = 76%

                          Siemens ADVIA 1800 (mg/dL)                                                              Siemens ADVIA 1800 (mg/dL)
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                              23
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  miniLab HDL Assay Accuracy Confirmed With
  NIST Standard
  Instrument                                  Replicates                                                          Level 1      Level 2
  NIST True Value                                      N/A                               Assigned              41.0 mg/dL     64.9 mg/dL
                                                                                             Mean              39.9 mg/dL     67.1 mg/dL
  miniLab                                                9
                                                                                        Difference                   -3%         3%

  Comparator                                                                                 Mean              36.7 mg/dL     63.9 mg/dL
                                                        25
  Method                                                                                Difference                  -10%         -2%




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  Clinical Chemistry Assays on miniLab Meet
  Allowable Total Error Criteria
                                                                                                       miniLab
  Analyte                                                                                       Total Analytical Error        Allowable Total Error
 Potassium (mmol/L)                                                                                     0.28 mmol/L               < 0.5 mmol/L1
 Total Cholesterol (mg/dL)                                                                                 4.0%                      < 9%2
 Triglycerides (mg/dL)                                                                                     4.5%                      < 15%3
 LDL Cholesterol (mg/dL)                                                                                   9.5%                      < 12%3
 HDL Cholesterol (mg/dL)*                                                                                  7.8%                      < 13%3

Total analytical error = median bias + 2 * within-laboratory CV or SD
*HDL bias against NIST standard was used in this calculation
1 CLIA (Federal Register 1992;57(40):7002-186)
2 NCEP (Clin Chem 1988;34:193-201)
3 NCEP (Clin Chem 1997;43:2164-2168)
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                 25
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  Immunochemistry:
  Precision and Method Comparison




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  Immunochemistry: Luminometer & Fluorometer
                                               Fluorometer                                                               Luminometer
                                                                        Luminometer                                            Microtip



                                                                                                                                          Collection
                                                                                                                                           mirror


            2.2”                                                                                        Photodetector




                                                                                       2.4”
                                    3.7”




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                  27
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  Immunochemistry: Precision
  Study Overview
Sample type and matrix                                               Venous serum

                                                                     Low titre sample (High Negative)
Control levels
                                                                     High titre sample (Low Positive)
                                                                     3 miniLabs x 5 Days x 5 Tests per day
Study Design
                                                                     (CLSI EP05-A3)
                                                                     Analysis of variance to determine repeatability, within-lab
Analysis
                                                                     variability, and reproducibility




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  Immunochemistry: HSV-2 IgG Precision Results
  Show Acceptable %CV
                                  Index                    Repeatability CV                             Within-laboratory CV Reproducibility CV
  Analyte                         Value                      (Within-day)                                (Within-miniLab) (Across 3 miniLabs)
                                0.75 (L)                                 7.6%                                  7.6%                7.7%
 HSV-2
                                1.06 (H)                                 7.3%                                  7.5%                7.7%




 (L): low titre sample; (H): high titre sample
 Other industry standard assays approved by FDA: K120625, K090409, K081687
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                             29
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  Immunochemistry: Method Comparison
  Study Overview
 Population                                                           At risk for Herpes (intended use population)

 Samples type and matrix                                              Venous serum

 Comparator                                                           Focus HerpeSelect 1 & 2 Immunoblot

 Number of miniLabs                                                   7

 Study design                                                         CLSI EP12-A2
                                                                      Compute negative and positive percent agreement
 Analysis                                                             compared to comparative method



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  Immunochemistry: HSV-2 IgG Measurements are
  Consistent with Comparator Method
                                                                           Theranos/                     Percent              95% Confidence
                                                                          Immunoblot                    Agreement                Interval
 Negative percent agreement
                                                                              127 / 127                   100%                 (97.1%, 100%)
 (specificity)
 Positive percent agreement
                                                                                 71 / 75                  94.7%               (87.1%, 97.9%)
 (sensitivity)




  Other industry standard assays approved by FDA: K120625, K090409, K081687
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                          31
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  Hematology and Immunology:
  Precision and Method Comparison




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  Hematology and Immunology: Cytometer
                 Automated imaging cytometer                                            Slide containing
                  3 Lasers, 5 Emission Filters                                          multiple samples
                                                                                                                                     Ringlight for dark field illumination

                                                                                      Fluorescence excitation                  Objective lens
                                                                                      light sources (laser diodes)
                                                                                                                                                       Imaging system optics
                                                                             6.1”                                                                      (filters, lenses, mirrors)




                                                                  19.4”
                                                                                                        Excitation system optics
                                                                                                        (filters, lenses, mirrors)                                           Camera

                  11.8”




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                                                 33
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  Hematology and Immunology: Assay
  Methodology

                           CD3+T cells
                           CD4+ T cells
                           CD8+ T cells




                     CD19+ B cells
                  CD56+/CD16+ NK cells

                                                                                                                                Images and cell
                                                               Erythrocytes lysed                        Samples are
                 Two reaction tubes                                                                                           properties analyzed
                                                                and leukocytes                          loaded into an
                  stained on-board                                                                                            using classification
                                                                      fixed                              imaging slide
                                                                                                                                  algorithms

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  Hematology and Immunology: Image Processing
           CD8+
            Cell

                                                                                     Image
                                                                                  segmentation




                                                            CD4+
                                                             Cell

      Pseudocolor image of T-cell image with select
      staining shown. CD4 in green, CD8 in magenta,                                                            Scatterplot reviewable by
      CD3 in blue, Nucleus in Red.
                                                                                                                  trained personnel
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                      35
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  T Cell, B Cell, NK Cells (TBNK, Lymphocyte
  Subset): Precision Study Overview
Sample type and matrix                                                 Quality control material (R&D Systems StatusFlow)

                                                                       CD4 Low (all other analytes normal)
Control levels
                                                                       CD4 Normal (all other analytes normal)
                                                                       3 miniLabs x 5 Days x 5 Tests per day
Study Design
                                                                       (CLSI EP05-A3)
                                                                       Analysis of variance to determine repeatability, within-lab
Analysis
                                                                       variability, and reproducibility




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                36
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  Lymphocyte Subset: Precision Results Meet
  Performance Criteria
                                                 Mean                   Repeatability CV Within-laboratory CV Reproducibility CV
  Analyte                                      (cells/mL)                 (Within-day)    (Within-miniLab)    (Across 3 miniLabs)
 Total T cells                                       841                             2.5%                    3.2%             3.3%

                                                  153 (L)                            4.6%                    5.0%             5.3%
 CD4+ T cells
                                                 838 (N)                             2.7%                    2.7%             2.8%

 CD8+ T cells                                        571                             3.5%                    3.9%             4.1%

 B cells                                             357                             4.5%                    4.7%             4.7%

 NK cells                                            308                             5.3%                    5.4%             6.1%

 Lymphocytes                                        1533                             2.7%                    2.8%             3.1%
(L): low cell count; (N): normal cell count
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                37
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  Lymphocyte Subset: Method Comparison
  Study Overview
                                                                      Apparently healthy subjects,
Population
                                                                      and <15% adjusted to abnormal levels

Sample type and matrix                                                K2-EDTA venous whole blood

                                                                      BD Multitest 6-color TBNK Reagent with Trucount Tubes on
Comparator
                                                                      FACSCanto II (BD TBNK)

Number of miniLabs                                                    6

                                                                      n > 100 subjects (per CLSI EP09-A3)
Study design
                                                                      1 replicate on miniLab, 2 replicates on comparator method
                                                                      Weighted Deming regression analysis and calculate median
Analysis
                                                                      bias

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                             38
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    Lymphocyte Subset: Counts Correlate with
    Comparator Method
                         Total CD3+ T Cells1                                                      CD4+ T Cells1                        CD8+ T Cells1




 miniLab
(cells/µL)

                                   Median bias = 0.4%                                                 Median bias = 0.7%                     Median bias = 1.3%
                                         ATE = ± 19.8%                                                      ATE = ± 19.6%                          ATE = ± 21.4%
                             Points within ATE = 96.4%                                          Points within ATE = 95.5%              Points within ATE = 97.3%


                                   BD TBNK                                                                BD TBNK                         BD TBNK
                                   (cells/µL)                                                             (cells/µL)                      (cells/µL)

                     Legend:                   Adjusted sample                         Native sample                   Unity (y = x)   Allowable total error
 1 Clin   Chim Acta, 2015;438:166-170. Ann Clin Biochem 1997;34:8-12.
  This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                            39
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     Lymphocyte Subset: Counts Correlate with
     Comparator Method
                            CD19+ B cells1                                                CD56+/CD16+ NK Cells1                         Lymphocytes2




 miniLab
(cells/µL)

                                    Median bias = -0.9%                                                 Median bias = 3.5%                   Median bias = 0.5%
                                          ATE = ± 26.1%                                                      ATE = ± 35.8%                        ATE = ± 17.6%
                                Points within TE = 95.5%                                           Points within TE = 98.2%             Points within TE = 94.6%

                                   BD TBNK                                                                BD TBNK                         BD TBNK
                                   (cells/µL)                                                             (cells/µL)                      (cells/µL)

                     Legend:                   Adjusted sample                         Native sample                   Unity (y = x)   Allowable total error
 1 Clin  Chim Acta, 2015;438:166-170. Ann Clin Biochem 1997;34:8-12
 2   Ricos specifications available from www.westgard.com/biodatabase1.htm
  This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                            40
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  Lymphocyte Subset: Counts Meet Allowable
  Total Error Criteria
                                                                                                       miniLab                 Allowable
  Analyte (cells/µL)                                                                            Total Analytical Error        Total Error1
 Total T cells                                                                                          6.7%                   < 19.8%
 CD4+ T cells*                                                                                          10.8%                  < 19.6%
 CD8+ T cells                                                                                           9.2%                   < 21.4%
 B cells                                                                                                10.3%                  < 26.1%
 NK cells                                                                                               14.3%                  < 35.8%
 Lymphocytes                                                                                            6.1%                   < 17.6%

Total analytical error = median bias + 2 * within-laboratory CV
*CV of Low CD4 cell count was used in this calculation
1 Clin Chim Acta, 2015;438:166-170; Ann Clin Biochem 1997;34:8-12
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                        41
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  Molecular Biology: Nucleic Acid Amplification
  (NAA) Zika Assay in Venous Serum on
  miniLab – Performance Characteristics




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  Nucleic Acid Amplification (NAA): Fluorescence-
  based Isothermal Detector and Thermocycler
    Fluorescence-based                                                                                  Fluorescence-based Isothermal Detector
    Isothermal
    Detector                                                                                                       Excitation LEDs



                                                                                    Optical                                            Excitation
          2.5”                                         13.1”                        Filters                                              beam


                     5.4”
                                                                                      Sample Vessels in
                                                                                    Isothermal Block 8 X 8
  Thermocycler
  Thermocycler                                                                                                                                 Fluorescence




                                                                                                                                      Fluorescence
                                                                                                                                         Signal
       3.9”
                                                                                                                                                      Time
                                                     8.5”                                                            Photodetectors

                      5.7”
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                         43
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  miniLab NAA Assays – Methodology
  • Magnetic bead-based extraction of nucleic acids
  • Isothermal amplification and detection
  • RT-PCR based pre-amplification using thermocycler module
  • High sensitivity achieved through integrated on-board
    sample extraction, amplification, and detection
  • Primers designed using multisequence gene alignment

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         44
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  Molecular Biology: NAA Zika Assay is Sensitive
  for the Target Gene
            Zika Concentration                                                        N (Positive) /
                (copies/mL)                                                           N (Replicates)                          % Positive
                             1920                                                                  6/6                          100%
                              960                                                                  6/6                          100%
                       480 (LoD)                                                                 25/26                           96%
                              160                                                                  4/6                           67%
                               32                                                                  2/6                           33%
                                 0                                                                 0/6                           0%

  LoD for CDC Zika test = 930 copies/mL
  Emerg Infect Dis 2008;14:1232-1239
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                      45
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  Molecular Biology: NAA Zika Assay Does Not Cross-
  React or Show Interference with Pathogens
                                                                                                                                  Interference
                                                                                                         Cross-Reactivity         (recovery of
                                                                Concentration                           (0 copies/mL Zika)    960 copies/mL Zika)
 Virus/Bacteria/Parasite                                         (copies/mL)                                % Positive             % Positive
 P. falciparum                                                          1 x 106                                0%                   100%
 Dengue Virus Types 1-4                                                 1 x 106                                0%                   100%
 West Nile Virus Types 1 & 2                                            1 x 106                                0%                   100%
 Chikungunya Virus                                                      5 x 103                                0%                   100%
 Yellow Fever Virus                                                     1 x 104                                0%                   100%
 Parvovirus                                                       1 x 106 IU/mL                                0%                   100%
 Mayaro Virus                                                           1 x 106                                0%                   100%


n = 3 replicates per test
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                               46
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  Molecular Biology: NAA Zika Assay Does Not Cross-
  React or Show Interference with Substances
                                                                                                                                  Interference
                                                                                                         Cross-Reactivity         (recovery of
                                                                Concentration                           (0 copies/mL Zika)    960 copies/mL Zika)
Interfering Substance                                            (copies/mL)                                % Positive             % Positive
Bilirubin                                                          342 μM                                       0%                    100%
Cholesterol                                                             13 mM                                  0%                   100%
EDTA, pH 8·0                                                           6.2 mM                                  0%                   100%
Gamma Globulin                                                        5 mg/mL                                  0%                   100%
Hemoglobin                                                            5 mg/mL                                  0%                   100%
Heparin Lithium Salt                                                  19 U/mL                                  0%                   100%
Human Genomic DNA                                                      4 μg/mL                                 0%                   100%
Triglyceride Mixture (C2-C10)                                           37 mM                                  0%                   100%
Sodium Citrate                                                     0.25% (w/v)                                 0%                   100%
n = 3 replicates per test
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                               47
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  Molecular Biology: NAA Zika Assay Inclusive for
  Other Zika Strains
                                                                                Zika Concentration
 Zika Virus Strain                                                                 (copies/mL)                          N Positive/N Replicates
 DakArD 41662                                                                                    960                              3/3

 MR 766                                                                                          960                              3/3


  Current outbreak strain: PRVABC59 (Asian)




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  Molecular Biology: NAA Zika Assay Shows No
  Carryover
                                               Zika Concentration
          Round                                    (copies/mL)                                          N Positive/N Replicates   % positive
                                                     1.3 x 107                                                    5/5               100%
                1
                                                                  0                                               0/5                0%
                                                          1.3 x 107                                               5/5               100%
                2
                                                                  0                                               0/5                0%
                                                          1.3 x 107                                               5/5               100%
                3
                                                                  0                                               0/5                0%
                                                          1.3 x 107                                               5/5               100%
                4
                                                                  0                                               0/5                0%
                                                          1.3 x 107                                               5/5               100%
                5
                                                                  0                                               0/5                0%

This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                          49
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  NAA Zika Assay – Clinical Study Overview
Population                                                          Healthy, febrile, or Zika symptomatic pathologicals

Sample type and matrix                                              Venous serum
                                                                    24 miniLabs
Analyzers & Assays                                                  CDC RT-PCR assay
                                                                    altona RealStar® (EUA Authorized Method)
Study design                                                        FDA EUA guidance
                                                                    Compute negative and positive percent agreement
Analysis
                                                                    compared to the comparative methods


This technology has not been cleared or approved by the FDA and is not for sale in the United States.                         50
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  Molecular Biology: NAA Zika Assay with Venous Serum is
  Consistent with Comparators
                                                                            Theranos/                    Percent              95% Confidence
                                                                           Comparator                   Agreement                Interval
 Negative percent agreement                                                   108 / 113                   95.6%               (90.1%, 98.1%)

 Positive percent agreement                                                      67 / 67                  100%                (94.6%, 100.0%)

  Venous Serum (N=180)
     78 from US (healthy and febrile subjects)
     102 from Dominican Republic and Colombia (Zika symptomatic)




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                           51
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  Theranos Sample Processing Unit (miniLab)
                                                                                             Material Handling Robot                   Fluorescence-based
                                                                        Camera                                                         Isothermal detector
   Thermal System
                                    Spectrophotometer



                                                                                                                                           Thermocycler*

     Luminometer
     & Fluorometer

                                                                                                                                                Centrifuge
                    Sonicator



                            Cartridge
  Images not to scale                                                                                                         Cytometer*
* Optional component
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                                        52
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  Presentation Overview

  I. Miniaturization of laboratory testing

  II. miniLab results across detection methodologies

  III. Small sample volumes: collection of capillary blood and
       analysis


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  Capillary Collection
  Optimization of Collection Variables
  • Sample site preparation (detergent-based wipes and alcohol
    dry time)
  • Wiping away first drop(s)
  • Finger-stick techniques (minimize milking)
  • Lancet selection (gauge and depth)
  • Arterialization of capillary blood

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  Theranos Sample Collection Device

                                           Sample Collection
                                                                                                              Nanotainer™ Tubes
                                             Device (SCD)




                                                                                                                              0.67”

                                                                       2.6”
                        0.4”                                                                                     0.51”        0.40”


                                0.6”


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  Sample Collection Device Design
 Challenges                                                                 Theranos Design Considerations

                                                                               • Capillary tubes
    Hemolysis                                                                  • Shape and diameter of capillary tubes and needles
                                                                               • Anti-coagulant coating

                                                                               • Anti-coagulant concentration
    Clotting                                                                   • Rapid mixing of sample with anti-coagulant
                                                                               • Fill volume indicators


    Altered cell morphology                                                    • Optimized anti-coagulant concentration


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  Collection and Activation
                                                        1        Blood drawn from lanced fingertip via capillary action


                                                                 Collection unit pressed into housing. Needles puncture
                                                                 through nanotainer caps, sliding plungers downward, like the
                                                        2        action of a syringe. Specimen is drawn into each nanotainer
                                                                 (170 µL blood total) and simultaneously mixed with anti-
                                                                 coagulant (EDTA and/or Li-Hep)


                                                                 Nanotainer tubes removed for storage, transport, and processing.
                                                        3
                                                                 2D barcode used to maintain traceability


This technology has not been cleared or approved by the FDA and is not for sale in the United States.                               57
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  Video of Capillary Collection Process


                                                                                        Video of
                                                                                        Capillary
                                                                                       Collection
                                                                    Video 3             Process




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  Sample Container Box for Shipping




                                                                                                                              2.3”




                                                                     4.0”
                                                                                                               5.2”


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  Matrix Comparison on miniLab




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  Lipid Panel: Matrix Comparison
  Study Overview
 Population                                                           Apparently healthy subjects

 Sample type and matrix                                               Li-Hep capillary whole blood and venous plasma

                                                                      8 miniLabs
 Analyzers
                                                                      Siemens ADVIA 1800
                                                                      2 replicates each matrix on miniLab
 Study design
                                                                      2 replicates for venous on comparator method
                                                                      Passing-Bablok regression analysis and calculate median
 Analysis
                                                                      bias




This technology has not been cleared or approved by the FDA and is not for sale in the United States.                           61
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  Capillary Total Cholesterol Correlates to Venous



          Capillary on
           miniLab
           (mg/dL)



                                                              Points within ATE = 100%                          Points within ATE = 100%


  Legend:                         Venous on miniLab                                                        Venous on ADVIA 1800
      Unity (y = x)                   (mg/dL)                                                                    (mg/dL)
      Allowable total error = ±9%
                           1

  1 NCEP     (Clin Chem 1988;34:193-201)
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                      62
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  Lipid Panel: Capillary Bias Summary
                                                                     Capillary miniLab vs                             Capillary miniLab vs
                                                                       Venous miniLab                                   Venous ADVIA
  Analyte                                                       R2                       Median Bias               R2         Median Bias
 Total Cholesterol (mg/dL)                                    0.98                                0.6%           0.98            -0.5%
 HDL Cholesterol (mg/dL)                                      0.96                                1.9%           0.96            11.6%
 LDL Cholesterol (mg/dL)                                      0.97                                0.6%           0.95            1.4%
 Triglycerides (mg/dL)                                        1.00                                3.7%           1.00            5.5%



  Passing-Bablok regression
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                        63
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  Lymphocyte Subset: Matrix Comparison
  Study Overview
Population                                                            Apparently healthy subjects

Sample type and matrix                                                K2-EDTA capillary and venous whole blood

                                                                      6 miniLab
Analyzers
                                                                      TBNK on Becton Dickinson FACSCanto II
                                                                      1 replicate each matrix on miniLab
Study design
                                                                      2 replicates venous on comparator method
                                                                      Passing-Bablok regression analysis and calculate median
Analysis
                                                                      bias



This technology has not been cleared or approved by the FDA and is not for sale in the United States.                           64
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  Capillary CD4+ T cell Count Correlates to Venous



           Capillary on
             miniLab
            (cells/mL)



                                                                Points within ATE = 91%                          Points within ATE = 96%


  Legend:                          Venous on miniLab                                                       Venous on BD TBNK
      Unity (y = x)                    (cells/mL)                                                               (cells/mL)
      Allowable total error = ±19.6%
                           1


  1 Clin   Chim Acta, 2015;438:166-170; Ann Clin Biochem 1997;34:8-12
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                      65
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  Lymphocyte Subset: Capillary Bias Summary
                                                         Capillary miniLab vs Venous                           Capillary miniLab vs Venous
                                                                   miniLab                                               BD TBNK
  Analyte                                                      R2                        Median Bias               R2         Median Bias
 Total T cells                                               0.93                                3.7%             0.92           4.9%
 CD4+ T cells                                                0.94                                4.2%             0.93           4.6%
 CD8+ T cells                                                0.92                                5.9%             0.94           6.4%
 B cells                                                     0.93                                6.1%             0.92           5.6%
 NK cells                                                    0.84                                9.6%             0.90           8.9%
 Lymphocytes                                                 0.88                                4.3%             0.89           6.8%
  Passing-Bablok regression
This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                        66
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  NAA Zika Assay: Clinical Study Overview
 Population                                                        Healthy or Zika symptomatic
 Sample type and matrix                                            Capillary whole blood, venous serum, and urine
                                                                   20 miniLabs
 Analyzers & assays                                                CDC RT-PCR assay
                                                                   altona RealStar® (EUA Authorized Method)
 Study design                                                      FDA EUA guidance
                                                                   Compute negative and positive percent agreement
 Analysis
                                                                   compared to the comparative methods



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  Molecular Biology: NAA Zika Assay with Capillary Whole
  Blood is Consistent with Comparators
                                                                              NAA/                       Percent              95% Confidence
                                                                           CDC & altona                 Agreement                Interval
 Negative percent agreement                                                        56 / 56                   100%              [93.6, 100.0]%

 Positive percent agreement                                                        50 / 51                    98%              [89.7, 99.7]%


  Capillary whole blood, venous serum, and urine (n = 107)
     77 from US (apparently healthy)
     30 from the Dominican Republic (Zika symptomatic)

  Capillary LoD = 320 copies/mL


This technology has not been cleared or approved by the FDA and is not for sale in the United States.                                           68
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  Theranos Technologies
                                                  Reagents and Assays for Small-Volume Samples

         Collection                                                                                                                     Theranos
       Technologies                                                                                                                 Virtual Analyzer
   Sample Collection Device                                                                                                               (TVA)
           (SCD)



             NanotainerTM
                Tubes

                                                        High Throughput                                     Theranos Sample
                                                           Platforms                                    Processing Unit (miniLab)




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  Acknowledgments


                                                                                 Group Picture
                                                                                  of Theranos
                                                                                  Employees




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  Manufacturing Video


                                                                                        Video of
                                                                                        Capillary
                                                                                       Collection
                                                                    Video 4             Process




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  Acknowledgments


                                                                                 Group Picture
                                                                                  of Theranos
                                                                                  Employees




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       Theranos Science & Technology:
The Miniaturization of Laboratory Testing


                                                                   Elizabeth Holmes



                                                                        August 1, 2016
